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                                         Nichole Schneiderman
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                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
HYDE & SWIGART




                                    13        Nichole Schneiderman                               Case Number:
                 Phoenix, Arizona




                                    14                             Plaintiff,                    Complaint For Damages
                                    15        v.
                                                                                                 Jury Trial Demanded
                                    16        National Recoveries Inc.
                                    17
                                                                   Defendant.
                                    18
                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                              Complaint                             - 1 of 6 -
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                                     1           collection practices are not competitively disadvantaged, and to promote
                                     2           consistent State action to protect consumers against debt collection abuses.
                                     3   2.      Nichole Schneiderman, (Plaintiff), through Plaintiff's attorneys, brings this
                                     4           action to challenge the actions of National Recoveries Inc., (“Defendant”),
                                     5           with regard to attempts by Defendant to unlawfully and abusively collect a
                                     6           debt allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     7   3.      Plaintiff makes these allegations on information and belief, with the exception
                                     8           of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                     9           Plaintiff alleges on personal knowledge.
                                    10   4.      While many violations are described below with specificity, this Complaint
                                    11           alleges violations of the statutes cited in their entirety.
                                    12   5.      Unless otherwise stated, Plaintiff alleges that any violations by Defendant
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                                    13           were knowing and intentional, and that Defendant did not maintain
                 Phoenix, Arizona




                                    14           procedures reasonably adapted to avoid any such violation.
                                    15                                     JURISDICTION AND VENUE
                                    16   6.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    17           1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                    18   7.      This action arises out of Defendant's violations of the Fair Debt Collection
                                    19           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”)
                                    20   8.      Because Defendant does business within the State of Arizona, personal
                                    21           jurisdiction is established.
                                    22   9.      Venue is proper pursuant to 28 U.S.C. § 1391.
                                    23                                                 PARTIES
                                    24   10.     Plaintiff is a natural person who resides in the City of Phoenix, County of
                                    25           Maricopa, State of Arizona.
                                    26   11.     Defendant is located in the City of Ham Lake, the County of Anoka, and the
                                    27           State of Minnesota.
                                    28

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                                              Complaint                             - 2 of 6 -
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                                     1   12.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                     2         as that term is defined by 15 U.S.C. § 1692a(3).
                                     3   13.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     4         the mails in a business the principal purpose of which is the collection of
                                     5         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                     6         debts owed or due or asserted to be owed or due another and is therefore a
                                     7         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                     8                                       FACTUAL ALLEGATIONS
                                     9   14.   At all times relevant to this matter, Plaintiff was an individual residing within
                                    10         the State of Arizona.
                                    11   15.   At all times relevant, Defendant conducted business within the State of
                                    12         Arizona.
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                                    13   16.   Sometime before September 2010, Plaintiff is alleged to have incurred certain
                 Phoenix, Arizona




                                    14         financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before September 2010, Plaintiff allegedly fell
                                    19         behind in the payments allegedly owed on the alleged debt. Plaintiff currently
                                    20         takes no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before September 2010, the alleged debt was assigned,
                                    22         placed, or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about September 2010, Defendant telephoned Plaintiff and demanded
                                    24         payment of the alleged debt.
                                    25   21.   This communication to Plaintiff was a “communication” as that term is
                                    26         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    27         with 15 U.S.C. § 1692g(a).
                                    28

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                                           Complaint                                - 3 of 6 -
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                                     1   22.     On or about early September, Defendant called Plaintiff more than once
                                     2           before 8:00 a.m., sometimes as early as 6:30 a.m.
                                     3   23.     Without the prior consent of the consumer given directly to the Defendant or
                                     4           the express permission of a court of competent jurisdiction, Defendant
                                     5           communicated with the consumer in connection with the collection of a debt
                                     6           at an unusual time or place or a time or place known or which should be
                                     7           known to be inconvenient to the consumer. Consequently, Defendant violated
                                     8           15 U.S.C. § 1692c(a)(1).
                                     9   24.     Despite Plaintiff’s requests not to call before 8:00 a.m. and explaining she
                                    10           lived in Arizona, with a cell phone that had an Arizona area code, the calls
                                    11           before 8:00 a.m. continued as recently as October 6, 2010.
                                    12   25.     Several times during the months of September and October 2010, Defendant
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                                    13           would call Plaintiff’s cell phone and leave a message only containing the
                 Phoenix, Arizona




                                    14           collector’s first name and a call back number subsequently determined to be
                                    15           Defendant’s.
                                    16   26.     Through this conduct, Defendant placed a telephone call without meaningful
                                    17           disclosing of the caller’s identity.            Consequently, Defendant violated 15
                                    18           U.S.C. § 1692d(6).
                                    19   27.     Defendant failed in subsequent communications that the communication from
                                    20           a debt collector. Consequently, Defendant violated 15 U.S.C. § 1692e(11).
                                    21   28.     Due to Defendants actions concentrated in a short amount of time,
                                    22           overwhelmed Plaintiff, causing her to suffer actual damages in the form of
                                    23           mental anguish including nervousness, stress, anxiety, loss of sleep, and fear
                                    24           of answering the telephone, feelings of hopelessness, pessimism, irritability,
                                    25           and restlessness, all impacting her personal relationships.
                                    26   //
                                    27   //
                                    28   //

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                                              Complaint                             - 4 of 6 -
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                                     1                                          CAUSES OF ACTION
                                     2                                                 COUNT I
                                     3               VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                     4                                      15 U.S.C. §§ 1692 ET SEQ.
                                     5   29.     Plaintiffs incorporate by reference all of the above paragraphs of this
                                     6           Complaint as though fully stated herein.
                                     7   30.     The foregoing acts and omissions constitute numerous and multiple violations
                                     8           of the FDCPA, including but not limited to each and every one of the above-
                                     9           cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    10   31.     As a result of each and every violation of the FDCPA, Plaintiffs are entitled to
                                    11           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    12           an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
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                                    13           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                 Phoenix, Arizona




                                    14           each Defendant.
                                    15                                         PRAYER FOR RELIEF
                                    16   WHEREFORE, Plaintiffs pray that judgment be entered against Defendants, and
                                    17   Plaintiffs be awarded damages from Defendants, as follows:
                                    18                                                 COUNT I
                                    19                            FAIR DEBT COLLECTION PRACTICES ACT
                                    20                                      15 U.S.C. §§ 1692 ET SEQ.
                                    21   32.     An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                    22   33.     An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)
                                    23           (2)(A) from each Defendant;
                                    24   34.     An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
                                    25           U.S.C. § 1692k(a)(3).
                                    26   //
                                    27   //
                                    28   //

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                                              Complaint                             - 5 of 6 -
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                                     1                                            TRIAL BY JURY
                                     2   35.   Pursuant to the seventh amendment to the Constitution of the United States of
                                     3         America, Plaintiffs are entitled to, and demand, a trial by jury.
                                     4
                                     5          Date: October 7, 2010                            Hyde & Swigart
                                     6
                                                                                                 By: /s/ David J. McGlothlin
                                     7                                                           David J. McGlothlin
                                                                                                 Attorney for the Plaintiff
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                 Phoenix, Arizona




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                                           Complaint                                - 6 of 6 -
